
V.S. Care Acupuncture, P.C., as Assignee of Barry Michael Ford, Respondent,
againstNY Central Mutual Fire Ins. Co., Appellant.




Nightingale Law, P.C. (Michael S. Nightingale, Esq.), for appellant.
Gary Tsirelman, P.C. (Irena Golodkeyer, Esq.), for respondent.

Appeal from an order of the Civil Court of the City of New York, Kings County (Pamela L. Fisher, J.), entered February 4, 2015. The order, insofar as appealed from, denied the branches of defendant's motion seeking summary judgment dismissing so much of the complaint as sought to recover for services rendered from October 19, 2009 through February 19, 2010.




ORDERED that the order, insofar as appealed from, is reversed, with $30 costs, and the branches of defendant's motion seeking summary dismissing so much of the complaint as sought to recover for services rendered from October 19, 2009 through February 19, 2010 are granted.
In this action by a provider to recover assigned first-party no-fault benefits, defendant appeals from so much of an order of the Civil Court as denied the branches of defendant's motion seeking summary judgment dismissing so much of the complaint as sought to recover for services rendered from October 19, 2009 through February 19, 2010.
Defendant's motion papers established the proper mailing of the denial of claim forms at issue (see St. Vincent's Hosp. of Richmond v Government Empls. Ins. Co., 50 AD3d 1123 [2008]). Furthermore, defendant made a prima facie showing that the amount plaintiff sought to recover for services rendered from October 19, 2009 through February 19, 2010 was in excess of the amount permitted by the applicable workers' compensation fee schedule. In opposition, plaintiff failed to proffer evidence in admissible form sufficient to raise a triable issue of fact [*2]with respect to defendant's fee schedule defense.
Accordingly, the order, insofar as appealed from, is reversed and the branches of defendant's motion seeking summary dismissing so much of the complaint as sought to recover for services rendered from October 19, 2009 through February 19, 2010 are granted.
PESCE, P.J., ALIOTTA and SOLOMON, JJ., concur.
ENTER:Paul KennyChief ClerkDecision Date: December 22, 2017










